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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 AMERICAN ASSOCIATION FOR JUSTICE                           )
                                                            )
                Plaintiff,                                  )
                                                            )
         v.                                                 )
                                                            ) Case No. 1:21-cv-00847-JDB
 CERTAIN UNDERWRITERS AT LLOYD’S                            )
 LONDON SUBSCRIBING TO                                      )
 SHOWSTOPPERS POLICY CERTIFICATE                            )
 NO. CR0314627, SPECIFICALLY                                )
 SYNDICATES 2623, 0623, 033, AND 4141                       )
                                                            )
                 Defendants.                                )




                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       The parties to this action, acting through counsel and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), hereby jointly stipulate to the Dismissal with Prejudice of this action

against all parties, with each party to bear its own attorney’s fees and costs.

        Respectfully submitted, this 11th day of January, 2022.

 PAULSON & NACE PLLC                                     TROUTMAN PEPPER HAMILTON
                                                         SANDERS LLP
 /s/ Christopher T. Nace
 Christopher T. Nace (DC Bar No. 977865)                 /s/ Thomas S. Hay
 1025 Thomas Jefferson St., NW, Suite 810                Thomas S. Hay (DC Bar No. 999895)
 Washington, DC 20007                                    600 Peachtree Street, N.E., Suite 3000
 (202) 463-1999 (telephone)                              Atlanta, GA 30308
 (202-223-6824 (facsimile)                               (404) 885-3000 (telephone)
 ctnace@paulsonandnace.com                               (404) 885-3900 (facsimile)
 Counsel for Plaintiff                                   thomas.hay@troutman.com
                                                         Counsel for Defendants
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                              CERTIFICATE OF SERVICE

       I hereby certify that on January 11, 2022, a copy of the foregoing Joint Stipulation of

Dismissal with Prejudice was filed electronically through the Court’s CM/ECF System on the

following:

                                       Thomas S. Hay
                           Troutman Pepper Hamilton Sanders LLP
                            600 Peachtree Street, N.E., Suite 3000
                                     Atlanta, GA 30308
                                 (404) 885-3000 (telephone)
                                 (404) 885-3900 (facsimile)
                                 thomas.hay@troutman.com

                                     Anthony J. Biraglia
                           Troutman Pepper Hamilton Sanders LLP
                                401 9th Street NW, Suite 1000
                                   Washington, DC 20004
                                  202-274-2894 (telephone)
                                  202-274-2994 (facsimile)
                               anthony.biraglia@troutman.com

                                       Kevin F. Kieffer
                           Troutman Pepper Hamilton Sanders LLP
                                   5 Park Plaza, Suite 1400
                                      Irvine, CA 92614
                                 (949) 622-2708 (telephone)
                                 (949) 622-2739 (facsimile)
                                kevin.kieffer@troutman.com



                                           /s/ Christopher T. Nace
                                           Christopher T. Nace (DC Bar No. 977865)
                                           1025 Thomas Jefferson St., NW, Suite 810
                                           Washington, DC 20007
                                           (202) 463-1999 (telephone)
                                           (202-223-6824 (facsimile)
                                           ctnace@paulsonandnace.com
                                           Counsel for Plaintiff




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